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                                                    Issued by the
                                           UNITED STATES DISTRICT COURT
                                                           Northern District of Georgia
                                                                Atlanta Division
GEORGIA OPERATORS SELF-INSURERS FUND,
               Plaintiff,
           v.                                                                       Civil Action File No. 1:12-cv-02578-ODE
                                                                                    Case Number:1
PMA MANAGEMENT CORP.,
             Defendant.

TO:         Arthur J. Gallagher
            117 Perimeter Center West
            Atlanta, Georgia 30338

       YOU ARE COMMANDED to appear in the United States District Court at the place, date, and time specified below
to testify in the above case.
PLACE OF TESTIMONY                                                                                                      COURTROOM



                                                                                                                        DATE AND TIME


     YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a
deposition in the above case.
PLACE OF DEPOSITION                                                                                                     DATE AND TIME




 YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at
the place, date, and time specified below (list documents or objects):

See attached Exhibit A for requested documents.

In lieu of a personal appearance, you may mail certified copies of the requested documents to the undersigned.

PLACE      Eric R. Mull                                       404/885-1400                                              DATE AND TIME

           Drew, Eckl & Farnham, LLP                                                                                    December 6, 2012
           P.O. Box 7600                                                                                                10 a.m. EST
           Atlanta, GA 30357-0600

         YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.
PREMISES                                                                                                                DATE AND TIME



Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more
officers, directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each
person designated, the matters on which the person will testify. Federal Rule of Civil Procedure 30(b)(6).

ISSUING OFFICER SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT                                    DATE

                                                                                                                        November 6, 2012
                                                            , Attorney for the Defendant
ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER: Eric R. Mull, Drew, Eckl & Farnham,
880 West Peachtree Street, Atlanta, GA 30357 (404) 885-1400

                                             (See Federal Rule of Civil Procedure 45 (c), (d), and (e), on next page)


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    If action is pending in district other than district of issuance, state district under case number.
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                                                                                           PROOF OF SERVICE
                                                                           DATE                                     PLACE


                SERVED

  SERVED ON (PRINT NAME)                                                                                             MANNER OF SERVICE




  SERVED BY (PRINT NAME)                                                                                             TITLE




                                                                                    DECLARATION OF SERVER

      I declare under penalty of perjury under the laws of the United States of America that the foregoing information
  contained in the Proof of Service is true and correct.


  Executed on ___________                                                                                              ____________________________________________________
                                   DATE                                                                                SIGNATURE OF SERVER




                                                                                                                       ADDRESS OF SERVER




Federal Rule of Civil Procedure 45 (c), (d), and (e), as amended on December 1, 2007:
(c) PROTECTING A PERSON SUBJECT TO A SUBPOENA.                                                                                    (i) shows a substantial need for the testimony or material that cannot be
        (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for issuing           otherwise met without undue hardship; and
and serving a subpoena must take reasonable steps to avoid imposing undue burden or expense on                                    (ii) ensures that the subpoenaed person will be reasonably compensated.
a person subject to the subpoena. The issuing court must enforce this duty and impose an
appropriate sanction — which may include lost earnings and reasonable attorney's fees — on a                   (d) DUTIES IN RESPONDING TO A SUBPOENA.
party or attorney who fails to comply.                                                                                  (1) Producing Documents or Electronically Stored Information. These procedures apply to
        (2) Command to Produce Materials or Permit Inspection.                                                 producing documents or electronically stored information:
                (A) Appearance Not Required. A person commanded to produce documents,                                           (A) Documents. A person responding to a subpoena to produce documents must
electronically stored information, or tangible things, or to permit the inspection of premises, need not       produce them as they are kept in the ordinary course of business or must organize and label them to
appear in person at the place of production or inspection unless also commanded to appear for a                correspond to the categories in the demand.
deposition, hearing, or trial.                                                                                                  (B) Form for Producing Electronically Stored Information Not Specified. If a subpoena
                (B) Objections. A person commanded to produce documents or tangible things or to               does not specify a form for producing electronically stored information, the person responding must
permit inspection may serve on the party or attorney designated in the subpoena a written objection            produce it in a form or forms in which it is ordinarily maintained or in a reasonably usable form or
to inspecting, copying, testing or sampling any or all of the materials or to inspecting the premises —        forms.
or to producing electronically stored information in the form or forms requested. The objection must                            (C) Electronically Stored Information Produced in Only One Form. The person
be served before the earlier of the time specified for compliance or 14 days after the subpoena is             responding need not produce the same electronically stored information in more than one form.
served. If an objection is made, the following rules apply:                                                                     (D) Inaccessible Electronically Stored Information. The person responding need not
                       (i) At any time, on notice to the commanded person, the serving party may               provide discovery of electronically stored information from sources that the person identifies as not
move the issuing court for an order compelling production or inspection.                                       reasonably accessible because of undue burden or cost. On motion to compel discovery or for a
                       (ii) These acts may be required only as directed in the order, and the order must       protective order, the person responding must show that the information is not reasonably accessible
protect a person who is neither a party nor a party's officer from significant expense resulting from          because of undue burden or cost. If that showing is made, the court may nonetheless order
compliance.                                                                                                    discovery from such sources if the requesting party shows good cause, considering the limitations of
        (3) Quashing or Modifying a Subpoena.                                                                  Rule 26(b)(2)(C). The court may specify conditions for the discovery.
                (A) When Required. On timely motion, the issuing court must quash or modify a                           (2) Claiming Privilege or Protection.
subpoena that:                                                                                                                  (A) Information Withheld. A person withholding subpoenaed information under a claim
                       (i) fails to allow a reasonable time to comply;                                         that it is privileged or subject to protection as trial-preparation material must:
                       (ii) requires a person who is neither a party nor a party's officer to travel more                              (i) expressly make the claim; and
than 100 miles from where that person resides, is employed, or regularly transacts business in                                         (ii) describe the nature of the withheld documents, communications, or tangible
person — except that, subject to Rule 45(c)(3)(B)(iii), the person may be commanded to attend a                things in a manner that, without revealing information itself privileged or protected, will enable the
trial by traveling from any such place within the state where the trial is held;                               parties to assess the claim.
                       (iii) requires disclosure of privileged or other protected matter, if no exception or                    (B) Information Produced. If information produced in response to a subpoena is subject
waiver applies; or                                                                                             to a claim of privilege or of protection as trial-preparation material, the person making the claim may
                       (iv) subjects a person to undue burden.                                                 notify any party that received the information of the claim and the basis for it. After being notified, a
                (B) When Permitted. To protect a person subject to or affected by a subpoena, the              party must promptly return, sequester, or destroy the specified information and any copies it has;
issuing court may, on motion, quash or modify the subpoena if it requires:                                     must not use or disclose the information until the claim is resolved; must take reasonable steps to
                       (i) disclosing a trade secret or other confidential research, development, or           retrieve the information if the party disclosed it before being notified; and may promptly present the
commercial information;                                                                                        information to the court under seal for a
                       (ii) disclosing an unretained expert's opinion or information that does not             determination of the claim. The person who produced the information must preserve the information
describe specific occurrences in dispute and results from the expert's study that was not requested            until the claim is resolved.
by a party; or
                       (iii) a person who is neither a party nor a party's officer to incur substantial        (e) CONTEMPT.
expense to travel more than 100 miles to attend trial                                                          The issuing court may hold in contempt a person who, having been served, fails without adequate
                (C) Specifying Conditions as an Alternative. In the circumstances described in Rule            excuse to obey the subpoena. A nonparty's failure to obey must be excused if the subpoena
45(c)(3)(B), the court may, instead of quashing or modifying a subpoena, order appearance or                   purports to require the nonparty to attend or produce at a place outside the limits of Rule
production under specified conditions if the serving party:                                                    45(c)(3)(A)(ii).




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                                                        EXHIBIT A

          The requested documents are as follows:

1.        A complete copy of any and all documents in your possession from 2006 to present, regardless of whether

they were prepared by you or other parties, relating to The Georgia Operators Self-Insurers Fund (“GAOSIF”).

This Request includes but is not limited to any and all:

                   a.       contracts, agreements, and any related addenda, modifications, changes, or

                            alterations between you and GAOSIF;

                   b.       all correspondence between you and GAOSIF;

                   c.       a list of all accounts in which you have a contract with 3rd Eye

                            Investigations, Inc.; Class Action Detective Agency, Inc.; and/or Detective

                            Online to provide surveillance services;

                   d.       a copy of any and all guidelines, policies, and/or procedures used by you

                            in your work for GAOSIF;

                   e.       a list of all accounts in which you have recommended the use of 3rd Eye

                            Investigations, Inc.; Class Action Detective Agency, Inc.; and/or Detective

                            Online to provide surveillance services;

                   f.       any and all bills and/or invoices relating to services you have provided to

                            GAOSIF;

                   g.       all electronic files maintained by you regarding GAOSIF;

                   h.       correspondence between you and PMA regarding PMA's work on

                            GAOSIF files;




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                   i.       correspondence between you and any third party to the above-captioned

                            case regarding PMA's work on GAOSIF files;

                   j.       a copy of all GAOSIF meeting minutes maintained by you on GAOSIF's

                            behalf;

                   k.       a copy of any and all reports created by you for or on GAOSIF's behalf;

                   l.       audiotapes, written statements or transcribed statements;

                   m.       notes – handwritten or otherwise, relating to any entity or individual

                            identified above;

                   n.       internal memorandums relating to GAOSIF.

                   o.       A listing of all Arthur J. Gallagher employees who are involved in the day

                            to day administration of files for GAOSIF, as well as employees who are

                            involved in the procurement of PMAMC as the TPA for GAOSIF.

                   p.       Documents describing the relationship between you and GAOSIF;

                   q.       Your files or files maintained by you relating to the procurement of

                            PMAMC as the TPA for GAOSIF;

                   r.       Documents, agreements, and/or correspondence between you and Doug

                            McCoy;

                   s.       Documents, agreements, and/or correspondence between you and McCoy

                            Consulting, Inc.;

                   t.       Documents, agreements, and/or correspondence between you and Stacy

                            Hosman; any employee of AD21, Inc.; Association of Workers

                            Compensation Claims Professionals, Inc.; and Hosman and Associates;




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                   u.       Any actuarial studies, including all working documents and related

                            documents, in the possession of AJG as they relate to the claims PMAMC

                            handled on behalf of GAOSIF.

                   v.       Any and all management reports received from PMA relating to GAOSIF.



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